               IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF OKLAHOMA

(1)L LAURIE GARLAND., an individual    )
           Plaintiff,                  )
v.                                     ) Case No. CIV 2020-306-RAW
                                       )
(1) STATE OF OKLAHOMA EX REL           )
OKLAHOMA DEPARTMENT OF                 )
CORRECTIONS,                           )
(2) CHRISTOPHER REDEAGLE, individually )
(3) SHARON MCCOY, individually         )
(4) JOE ALLBAUGH, Individually         )
(5) PENNY LEWIS, Individually          )
(6) RABEKAH MOONEYHAM, individually )
(7) HEATHER CARLSON, individually      )
(8) BOARD OF CORRECTIONS               )
           Defendants                  )

                                       AMENDED COMPLAINT

           COMES NOW, Laurie Garland (L. G).,1 individually and for her Complaint

and against the listed Defendants alleges and states as follows:

                                                   PARTIES

    1. Plaintiff L.G. was incarcerated in the Eddie Warrior prison facility, in

         Muskogee Oklahoma, for a dui charge, at all relevant times, in late 2018-

         2019.

    2. Defendant Oklahoma Department of Corrections (ODOC) is a state agency

         tasked with housing and rehabilitating inmates, and maintains Eddie Warrior

         correctional facility in Muskogee where L.G. was an inmate. ODOC created

         and published policies and procedures for the protection of inmates, inter


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    Due to the stigmatization of sexual assault, Plaintiff asks that her initials be used throughout this matter.
   alia.

3. Defendant Deputy Warden RedEagle was a correctional officer at Eddie

   Warrior at all relevant times and a resident of Muskogee County.         The

   Muskogee DA has charged RedEagle with lewd molestation of L.G. , and

   under information and belief, RedEagle has beeen terminated from

   employment as his actions amounted to statutory rape, inappropriate abuse of

   his position of power, contrary to Oklahoma law, regulatory law, policies and

   procedures created by the Defendant Board of Corrections. RedEagle’s

   actions to groom and force himself on Plaintiff sexually did not advance his

   employer’s agenda in any way and is prohibited under employment protocol.

4. Defendant Sharon McCoy was the warden supervising Defendant RedEagle,

   personally responsible for enforcing compliance with specific policies

   relevant to this matter, and overseeing him as his supervisor, at Eddie

   Warrior.

5. Defendant Joe Allbaugh is the executive director of the Oklahoma

   Department of Corrections, personally tasked with implementation of

   specific policies relevant to this matter.

6. Defendants Lewis, Mooneyham, and Carlson, comprise of the Compliance

   Unit employees for the Oklahoma Department of Corrections, that unit being

   tasked with enforcement of specific policies relevant to this matter.

7. Defendant Board is a group of individuals, who regularly meet, and approve

   expenditures and protocols for the Oklahoma Department of Corrections, and


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   were specifically tasked with drafting policies and procedures and overseeing

   the enforcement and compliance of specific policies relevant to this matter.

                      JURISDICTION AND VENUE

8. This Court has subject matter jurisdiction pursuant to 28 U.S.C. §1331, as

   factual claims and allegations asserted herein arose under 42 U.S.C. §1983.

9. Further, this Court has subject matter jurisdiction in that Plaintiffs’ rights

   guaranteed under the Fourth, Eighth, and Fourteenth Amendments to the

   United States Constitution were violated by Defendants.

10. All factual claims and allegations asserted herein arose entirely within the

   Eastern District of Oklahoma and venue is proper in this district.

11. Plaintiff is entitled to attorney fees and costs pursuant 42 U.S.C. §1988, as

   this action is brought to enforce provisions of 42 U.S.C. §1983, and including

   injunctive relief, always available against any Defendant. After discovery,

   Plaintiff also seeks declaratory judgment that certain Defendants insurance

   policies create statutory liability above and beyond state Tort Claim limits.

   Plaintiff also seeks declaratory judgment that Defendants’ acts and omissions

   are unconstitutional and/or unlawful, and contrary to their administratively

   adopted policies and procedures, and/or likely to lead to known constitutional

   violations of persons in Plaintiff’s position. Plaintiff seeks pendent state

   claims.

             RELEVANT FACTS AND CAUSES OF ACTIONS

     EXISTING TENTH CIRCUIT LAW KNOWN TO DEFENDANTS


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                     REGARDING STATUTORY RAPE


12. Plaintiff L.G. had a known constitutional right not to be raped by a

   correctional officer. See Keith v. Koerner (Keith II), 843 F.3d 833, 837 (10th

   Cir. 2016) (“[A]n inmate has a constitutional right to be secure in her bodily

   integrity and free from attack by prison guards.” (alteration in original)

   (quoting Hovater v. Robinson, 1 F.3d 1063, 1068 (10th Cir. 1993). All

   correctional officers and administrators of the prisons in Oklahoma are taught

   that correctional officers may not date and have sexual relations with

   inmates, such acts being criminal.

13. Defendants, each of them, knew of L.G.’s above rights, as each Defendant

   participated in drafting, acknowledgeing, discussing, and had a duty to

   enforce policies and procedures drafted to prevent female inmates from being

   violated.

           “It is clearly established that a prion official’s
           deliberate indifference to sexual abuase by prison
           employees violates the Eighth Amendedment”. Keith
           v. FCoemer (Keith I), 707 F. 3d 1185, 1188 (10th Cir.
           2013.) We have further concluded ‘an inmate has a
           constitutial right to be secure in her body *850
           integrity and free from accack by prison guards.’ And
           ‘a prison official’s failure to protect an inmate from a
           known harm may constitute a constitutional violation.’
           Hovater, 1 F.3d at 1068. In other words, ‘prison
           officials . . . must ‘take reasonable measures to
           guaerantee the safety of inmates.’ Farmer 511U.S. at
           832. 114 S.Ct. 1970 (quoting Hudson v. Palmer, 468
           U*.S. 517, 526-27, 104 S.Ct. 3194, 82 L.2d.2d 393
           (1984)”



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                     DELIBERATE INDIFFERENCE
                   PROXIMATELY CAUSING FOURTH
                      AMENDMENT VIOLATION

14. Defendant McCoy was aware that RedEagle is a large man, imposing in

   stature, and had a position of authority in the prison vis-à-vis Plaintiff.

15. Defendant McCoy was made aware that RedEagle was spending an excessive

   amount of time with Plaintiff, in plain sight, in violation of policies,

   procedures, regulations and failed to take appropriate action to protect her.

16. The Policies and procedures exist purportedly for the protection of inmates,

   and after witnessing Defendant RedEagle manipulate Plaintiff’s time with

   him in an unregular fashion, Defendant McCoy proceeded with deliberate

   indifference to the well-being of Plaintiff.

17. Defendant McCoy had information made known to her that Plaintiff was

   wearing panties other than the prison issued garb, and knew that something

   was wrong eventually moving Plaintiff to be away from Defendant

   RedEagle.

18. However, RedEagle was able to manipulate Plaintiff’s work and schedule to

   sexually assault her, and have her wear underwear that he brought into the

   prison for her to wear for a week at a time, so he could later “sniff” them.

19. In lieu of protecting Plaintiff Defendant McCoy and others turned a blind eye

   to RedEagle’s inappropriate manipulation of Plaintiff’s time and roster roll

   call, so he could continue to physically take advantage of her and harass her.

20. When law enforcement entered RedEagle’s home, after Plaintiff had been


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      sexually assaulted, RedEagle opened up his safe which had multiple worn,

      soiled women’s panties, begging the question how long had he been getting

      away with his egregious and disturbing conduct.

 21. The remaining Defendants did not enforce the below policies at Eddie

      Warrior, and acted with deliberate indifference to the safety of Plaintiff by

      not enforcing compliance with the below policies, created to protect Plaintiff.

II.  DEFENDANT ALLBAUGH IN HIS INDIVIDUAL CAPACITY AND
  DEFENDANT MCCOY ARE PROXIMATELY RESPONSIBLE FOR
VIOLATING PLAINTIFF’S CIVIL RIGHTS UNDER SECTION 1983 FOR
  FAILING TO ENFORCE ADMINISTRATIVE LAW THAT WOULD
               HAVE PROTECTED PLAINTIFF

 22. Defendant Allbaugh is the agency Director for ODOC. Policy P-040100

      (Exhibit 1) is titled “Security Standards” and states that the ODOC “provides

      security at all institutions… security standards are established to protect …

      inmates.” The agency director, Defendant Allbaugh, per section II of the

      policy, “is responsible for compliance with this policy.” (emphasis added).

 23. Inter alia, Policy P-040100 requires “compliance monitoring of internal and

      external security” including “inventory and control of: a) Keys ….”

 24. ODOC Policy P-040100 also required security standards at Eddie Warrior for

      “transportation of inmates…post orders to include staff review and the

      recording of routine and unusual events in post logs… control of

      inmate/offender movement… provisions for facility staffing to ensure 24

      hour continuous coverage.” Defendant Allbaugh failed to maintain, enforce,

      and direct compliance with this policy, resulting in constitutional violation of


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   Plaintiff’s person at Eddie Warrior.

25. Defendant Allbaugh specifically is listed as directly responsible for

   “compliance” with this policy, and Defendant McCoy was also responsible

   for review, supervision, and direct enforcement thereof as the head of the

   facility.

  III. DEFENDANT ALLBAUGH IN HIS INDIVIDUAL CAPACITY,
    DEFENDANTS LEWIS, MOONEYHAM, AND CARLSON, AND
  DEFENDANT BOARD OF CORRECTIONS ARE PROXIMATELY
        LIABLE FOR FAILING TO ENFORCE P-010200, AN
     ADMINISTRATIVE LAW, PROXIMATELY RESULTING IN
 VIOLATION OF PLAINTIFF’S CONSTITUTIONAL RIGHT NOT TO
             BE MOLESTED BY DEPUTY WARDEN


26. Policy P-010200 (Exhibit 2) states that the Defendant Oklahoma Board of

   Corrections will “establish and maintain” written policies and procedures

   for ODOC. “The agency director [Defendant Allbaugh] is responsible for

   compliance with this policy,” as stated in section VI of the policy.

27. On its website, the ODOC indicates that its “Auditing and Compliance Unit”

   “shall be responsible for the issuance and review of policies and procedures

   issued by the Board of Corrections/Director of the Oklahoma Department of

   Corrections.” Thus, Defendants Lewis, Mooneyham and Carlson were

   responsible for both issuance and review of policies regarding female

   inmates.

28. On its website, ODOC states that the Defendant Board is “the governing

   body for the Department…[m]embers are responsible for establishing and



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   reviewing policies, appointing the Director and confirming the appointment

   of wardens or unit heads.” (Exhibit 3) As such, the Defendant Board was

   proximately responsible for creating policies and enforcing policies involving

   Defendants McCoy, Lewis, Mooneyham, and Carlson, which proximately

   affected the oversight of Defendant RedEagle and his ability to have violated

   Plaintiff’s constitutional rights, under the Fourth, Eighth, and Fourteenth

   Amendments.

29. Under ODOC Policy P 01200 (attachment “A”), (Exhibit 4) the Defendant

   Board of Corrections is to provide “effective oversight” and under Section

   “D” “essential duties,” paragraph “10” to “establish policies.”

30. Because these Defendants were aware of the purpose of such policy was to

   protect female inmates, and that failure to enforce such policy could likely

   result in a Constitutional Violation of Plaintiff’s person, these Defendants are

   proximately liable under Section 1983 for proceeding under a custom, policy,

   and program of not following, complying with, and enforcing the stated

   administrative procedure, they are proximately liable for 1983 harm to

   Plaintiff.

    IV.    DEFENDANTS ALLBAUGH, BOARD OF CORRECTIONS,
    ARE PROXIMATELY RESPONSIBLE FOR FAILING TO CREATE
     POLICY AND PROCEDURE UNDER THEIR ADMINISTRATIVE
        RULEMAKING, AFTER BEING MADE AWARE IN 2018 OF
        DEFICIENCIES IN OPERATIONS, LIKELY TO RESULT IN
    CONSTITUTIONAL VIOLATIONS TO FEMALE INMATES, THUS
        TURNING A BLIND EYE TO CIVIL RIGHTS VIOLATIONS

31. In 2018, the consulting firm of Alvarez & Marsal published a comprehensive


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     “Efficiency Review” of ODOC, visiting facilities and conducting anonymous

     surveys with employees. (Exhibit 5) The 2018 results indicate that

     Defendants failed to have proper staffing, proper procedures to track inmates,

     that the current software system is outdated, and facilities are “dangerous to

     operate.”

32. In light of such information being provided to all Defendants in 2018,

     Defendants failed to implement new policies and action plans to remedy

     existing identified problems when L.G. became an inmate, and failed to

     enforce existing specific policies and procedures designed to protect women

     such as L.G., turning a blind eye and deaf ear to the continued likelihood of

     female inmates having their persons violated by guards, a known and obvious

     constitutional violation. Defendants proceeded with deliberate indifference

     to the likelihood of constitutional violations to Plaintiff.

V.   DEFENDANT ALLBAUGH IN HIS INDIVIDUAL CAPACITY AND
   DEFENDANT MCCOY FAILED TO ENFORCE POLICY 40103,
      PROXIMATELY CREATING A SEXUAL HARASSMENT
    ENVIRONMENT AND REDEAGLE’S ABILITY TO VIOLATE
   NUMEROUS POLICIES WITHOUT ACCOUNTABILITY, AND
 ULTIMATELY COMMIT STATUTORY RAPE, AND VIOLATION OF
 PLAINTIFF’S PROTECTED CONSTITTIONAL RIGHTS KNOWN TO
   ALL DEFENDANTS, TRIGGERING SECTION 1983 LIABILITY

33. L.G. was approached by Defendant RedEagle, a large and imposing person

     and a correctional officer, who inappropriately started grooming Plaintiff.

     RedEagle routinely demanded that L.G. do personal work for him, resulting

     in repeated “unusual events” .” He snuck her into closets and rooms over



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   which he had control and/or key access to, closed blinds in front of other

   inmates and his superiors, and personally called her in late to roll call, so that

   he cold sexually assault her.      She was frightened and overpowered and

   complied.

34. RedEagle regularly called in L.G. for roll call on her behalf, when he had

   ordered her to be with him. The designated persons to enforce Policy P-

   040103 (Exhibit 6) , Defendants Allbaugh and McCoy, failed to enforce

   compliance with it, resulting in RedEagle’s violations of L.G.

35. Defendant McCoy was absent often, so she a) failed to personally supervise

   Defendant RedEagle as her subordinate and b) failed to enforce policies such

   as OP 040103 designed to protect female inmates and create accountability.

36. Under policy OP-040103, “a method shall be establish to record non-routine

   incidents,” including “contraband” and recording of such events and

   pertinent information involving inmates. It states “Supervisors are expected

   to review and sign the post log… at minimum, once each shift” and to keep

   track of “unusual occurrences.” The policy further states that “inmates will

   not have access to any control room.” The facility head (Defendant McCoy)

   is indicated in the policy as “responsible for compliance.”

37. Due to her acts and omissions, Defendant McCoy’s lack of presence and

   failure to observe the above policies allowed RedEagle to harm Plaintiff.

38. Defendant RedEagle was able to use keys and manipulate the storage area he

   was in charge of, without any compliance and monitoring, to direct Plaintiff


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       to join him there, where he was able to take advantage of her. . RedEagle

       stole property that was in storage areas he was in charge of, and sold it, 2 took

       Plaintiff into areas and pulled blinds down, brought underwear into the prison

       that he demanded she wear for over a week at a time, then give to him, wrote

       her love letters disguizing his name, and ultimately forced her to commit

       sexual acts with him.

    39. Thus, policy P-040100 (Exhibit 1) was not complied with, nor was it

       monitored, by either Defendant McCoy, RedEagle’s supervisor, nor the other

       listed Defendants, also responsible for enforcement, compliance, and review

       of such policy. As such, Defendant RedEagle was able to repeatedly take

       advantage of Plaintiff L.G., sexually harassing her and traumatizing her.

    40. As a result of Defendants’ failure to enforce existing policies, and as a result

       of Defendant Board’s failure to create new plans of action and new policies

       after learning of deficiencies in 2018, Defendant RedEagle was able to

       pressure Plaintiff into inappropriate situations,

    41. Plaintiff was frightened and complied with his wishes, given the fact he

       controlled her work duties and ordered her around.

    42. RedEagle required her to wear panties for days at a time that he kept and

       brought into the facility as contraband (violation of contraband policy cited

       herein), ReadEagle pressured Plaintiff into sexual contact in early 2019

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  Indicative of the fact that Defendant McCoy and the other Defendants failed to enforce, audit, and require
compliance with the specific aministrative policies and procedures herein, created to protect female inmates
from possible constitutional violations of their persons as well as sexual harassment by prison guards, and
for their own safety (as the policies themselves indicate).


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   forcing his penis on her and for her to pleasure him inside a room in the

   prison.

43. Defendant Deputy Warden RedEagle is also charged in Muskogee County

   with bringing contraband into the prison, including panties he made L.G.

   wear for extended periods of time, then kept for himself to “sniff.” If the

   contraband policy and Exhibit 6 had been observed by Defendant Warden

   McCoy, and monitored with respect to Defendant Deputy Warden RedEagle,

   such policy or any of the other policies identified (ie. keeping track of keys

   and movement of female inmates), properly enforced, would have prevented

   constitutional violations of L.G.’s person.

44. Rapes have been occurring in Oklahoma for many years in the prison system,

   with corrections officers inappropriately using their position of power to

   sexually assault female inmates.         Not only is it well known by any

   “reasonable correctional officer” who has finished training that he is not to

   have sexual relations with an inmate, but that such act is a felony, punishable

   at law.

45. The U.S. Department of Justice confirmed that ODOC facility Mabel Bassett

   had the highest prison rape rate in the United States.                    (See

   https://www.prisonlegalnews.org/news/2016/mar/7/oklahomas-mabel-

   bassett-correctional-center-has-highest-prison-rape-rate/, visited August 12,

   2020).

46. The US Department of Justice found that 3.5 percent of the women surveyed


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   in the Oklahoma prison had been sexually assaulted by prison staff, a number

   higher than the national average. Id.

47. Many lawsuits have been previously filed against numerous prison guards

   who have raped female inmates, placing all Defendants on notice of the

   impropriety of sexual assault of a female inmate. Yet the problem persists,

   year after year.

48. Defendants knew that failing to properly protect female inmates        would

   continue to result in female prisoners being raped, in violation of their known

   rights. Defendants’ failures and omissions regarding creation of new policies

   to protect female inmates and enforcing existing policies proximately

   allowed Defendant RedEagle to violate Plaintiff’s person.

49. Each Defendant is individually liable under 42 US 1983 for proximately

   causing violations of Plaintiff’s right to bodily integrity under the Fourth

   Amendment and the Eighth Amendment.

    VI. OGTCA APPLIES AND WAS COMPLIED WITH, AND THE
        EXEMPTION FOR IMMUNITY DOES NOT APPLY TO
  SUPERVISORY NEGLIGENCE AND RESPONDEAT SUPERIOR, AS
  DEFENDANTS HAVE ADMITTED THAT REDEAGLE WAS NOT IN
 THE SCOPE OF HIS EMPLOYMENT IN COMMITTING STATUTORY
     RAPE – OGTCA CLAIM AGAINST ALL DEFENDANTS FOR
   NEGLIGENCE, NEGLIGENT SUPERVISION, AND NEGLIGENT
                      ENFORCEMENT

50. Plaintiff L.G. properly served a Notice of Tort Claim prior to the enid of

   2019, per the OGTCA.

51. On December 27, 2019, the Defendants’ agent at OMES wrote a letter



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   acknowledging receipt of a properly tendered Notice of Tort Claim and

   asking for supporting documentation. Exhibit 7.

52. In response, on March 11, 2020, Plaintiff sent a letter to OMES explaining

   the systemic problem at Eddie Warrior causing women to be taken advantage

   of, attached proof of Deputy Warden RedEagle’s criminal prosecution by the

   Muskogee DA, attached some of his inappropriate letters, and offered to meet

   with the Defendants’ and the Department of Correction to explain exactly

   how RedEagle violated the policies without accountability, and how he was

   able to sexually assault her.

53. Plaintiff offered to privately meet with Defendants to provide such

   information in order to prevent other female inmates from also being raped.

   Exhibit 8.

54. On March 26, 2020, Defendants sent back a letter to Plaintiff stating that

   RedEagle was outside the scope of his employment and that as a result the

   Defendants were not liable for his harming her, and refusing her offer to

   provide explanation to the Department of Corrections as to how he was able

   to sexually assault her in light of the numerous protocols in place that were

   not being followed. Exhibit 9.

55. Exhibit 8 clearly identifies the fact that the Defendant Board and Defendant

   Allbaugh need to create a policy to protect female inmates in Plaintiff’s

   position, and that their existing policies were not being followed and

   enforced, proximately resulting in negligent supervision of RedEagle at the


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   Eddie Warrior facility who was able to commit a crime and violate Plaintiff.

56. Defendants in Exhibit 9, state that Defendant RedEagle was NOT in the

   scope of his employment, and refuse Plaintiff’s good faith offer to meet and

   discuss the calculated actions RedEagle took to violate policies and avoid

   detection by his superiors.

57. As such, Defendants, through Exhibit 9, portray deliberate indifference to the

   rights of female inmates at Eddie Warrior by not wanting to learn how

   RedEagle was able to sexually assault Plaintiff. Defendants’ choice to avoid

   a good faith discussion from Plaintiff to create protocols and to protect other

   potential victims, indicates deliberate indifference to solving the problem of

   sexual assault that occurred to Plaintiff at Eddie Warrior by the very Deputy

   Warden who was positioned there to enforccfe the law and protect inmates!

58. Because Exhibit 9 removes the Defendants from the immunity provisions of

   the OGTCA (not in scope of employment) and because allowing a Deputy

   Warden to participate in a calculated set of disturbing actions including

   statutory rape, is NOT considered administration of a prison, Defendants

   McCoy, Allbaugh, and the Board are proximately liable under the OGTCA,

   for negligent supervision of McCoy and Deputy Warden RedEagle at Eddie

   Warrior.

59. Also, because the Defendant Board and Defendant Allbaugh have a bond and

   insurance for general liability for their acts of negligence, payment of any

   damages under the OGTCA would not come from the state of Oklahoma, and


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   therefore would not be a prohibited state expenditure in violation of the

   Eleventh Amendment immunity provisions.           See concurring opinion of

   Justice Edmondson in Barrios v. Haskell County, 2018 OK 90 at ¶¶ 3, 4 (if

   funds do not come from state coffers, issue is moot – also stating that Section

   1983 damages do not trigger 11th Amendment immunity situation)

60. Defendant McCoy is proximately responsible for negligent supervision of

   Defendant Deputy RedEagle, as McCoy was his Warden, and supervisor.

        VII.  BECAUSE EXHIBIT 9 IS AN ADMISSION BY THE
     DEFENDANTS THAT REDEAGLE WAS NOT IN THE SCOPE OF
       HIS EMPLOYMENT, DEFENDANTS, EACH OF THEM, ARE
      PROXIMATELY RESPONSIBLE FOR BOSH CLAIMS UNDER
     ARTICLE 2 SECTION 30 OF THE STATE CONSTITUTION, FOR
                  VIOLATION OF HER PERSON

61. All Defendants are proximately separately liable for “Bosh” causes of

   action, for violations of state constitional rights of Plaintiff, as well as

   negligence within the scope of employment. Bosh v. Cherokee Co., 2013 OK

   9. Under Article 2 Section 30 of the Oklahoma Constitution, Plaintiff is

   entitled to a private cause of action for excessive force under Bosh, supra, ¶¶

   32-33.   Please take notice of the gargantuan physique and strength of

   Defendant RedEagle.

62. The Oklahoma Consitution prohibits sexual assaults of inmates;

63. Under the Constitution the Eddie Warrior Correctional Facility has

   respondeat superior responsibility for its employees. See Bosh supra.,

64. Scope of employment is for a jury to determine in Oklahoma, so the issue of



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       employer ODOC’s liability under the legal theories proposed,3 including

       respondeat superior survives dismissal. Nail v. Henrietta, 1996 OK 12.

    65. Plaintiff wrote a letter on March 11, 2020, offering to explain to Defendant

       ODOC how Defendant RedEagle was able to violate her person, so that

       ODOC could craft policies and procedures to protect other female inmates.

       (Exhibit 8)

    66. All Defendants (except RedEagle) turned a blind eye to Plaintiff’s offer to

       craft policies to protect women and explain how RedEagle accomplished his

       outrageous actions to violate her. (Exhibit 9)

        VIII,      DECLARATORY RELIEF – DEFENDANT DOC AND BOARD

    67. Defendant DOC and Board are subject to declaratory relief, that they are

       proximately responsible for medical care of inmates, when they cause harm

       to inmates such as Plaintiff.

    68. Also, Defendants are subject to declaratory judgment relief to determine

       whether as a matter of law, the bonds and insurance policies they have taken

       out, which are above and beyond the OGTCA statutory limit, subject them to

       damages up to the amount of such bonds/policies, and that 11th Amendment

       immunity would not be triggered if such insurance funds paid for any

       damages.

    69. Recently, the Oklahoma Supreme Court issued a ruling upholding a

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 Except for 42 USC 1983 – which has been construed by this Court and others as generally unable to
create respondeat uperior liability. It should be noted that in unique circumstances, federal courts have
awarded punitive damages against a public employer if its employee acts are egregious, per 42 USC 1983.


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   declaratory judgment cause of action against the Defendand Department of

   Corrections.

             IX.      INJUNCTION – AS TO ALL DEFENDANTS

70. The OGTCA does not touch on equitable relief.               Because Defendant

   RedEagle caused statutory rape / sexual assault of Plaintiff, and because the

   Defendants Board and other individual defendants are specifically identified

   as being personally responsible for enforcing the administrative law adopted

   by the DOC (Policies attached), the Defendants are fully subject to

   prospective injunctive relief to enforce policies and not violate them.

                       X.       FEDERAL CIVIL RIGHTS

71. Defendants are proximately responsible per 42 USC 1983 for violations of

   Plaintiff’s rights guaranteed under the Fourteenth Amendment, for deliberate

   indifference, and for establishing a custom and practice of indifference

   toward protecting females such as Plaintiff, espousing a course of action

   failing to create protocols and failing to enforce existing protocols, for the

   safety of Plaintiff. Defendants’ course of conduct and pattern is likely to

   result in further constitutional violations of other female inmates.

         COMPLIANCE WITH OGTCA NOTICE PROVISIONS

72. By letter dated March 26, 2020, from the Risk Management Department of

   the Oklahoma Office of Management and Enterprise Services, the timely

   filed notice of tort claim by L.G. was denied. (Exhibit 9)

73. In that March 26, 2020 letter (Exhibit 9) was the clear rejection of L.G.’s


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   offer to meet with Defendants and explain the failures in policy enforcement

   and the lack of existing protocols that could have protected her and that could

   protect other females. This case is timely filed within 180 days of that letter.

74. Under information and belief, ODOC, its Board, and/or Director Allbaugh,

   have taken out policies of insurance, securing policies with limits above and

   beyond the Oklahoma Governmental Tort Claims Act limits of liability.

   Under the OGTCA, the State is excuded from liability for the “[p]rovision,

   equipping, operation or maintenance of any prison.”            51 OS 155(25),

   However, Plaintiff would submit that this case arises from the individual

   Defendants failijng to act in the administratively designed, structured,

   operation of the Eddie Warrior facility, by specifically failing to enforce,

   administer, and comply with, the policies described herein.

               CONCLUSION AND REQUEST FOR RELIEF

75. Recently, the Oklahoma Supreme Court ruled against ODOC, in a case where

   Defendant Allbaugh was sued in his official capacity, proving ODOC may be

   sued in state or federal court. See Bd of County Commissioners v. Oklahoma

   Dept of Corrections, Joe Allbaugh in his official capacity as Director, and

   Board of Corrections (Okla. Co. Case CV-2017-684), available on

   OSCN.net.

76. That case, in the immediately preceding paragraph, involved a declaratory

   judgment action against ODOC claiming it owed money to Plaintiffs. The

   Oklahoma Supreme Court ruled that ODOC did in fact owe such funds.


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77. Plaintiff similarly request declaratory judgment that any Defendant who has

   taken out an insurance policy or bond, is therefore subject to jury

   determination of liability up to the amount of that policy per Oklahoma law.

   See e.g. 57 OS 504(5). It is expected such information would be captured

   through discovery.

78. Plaintiff also seeks injunction at the beginning of this case, prohibiting the

   Defendants from erasing any recordings or documents regarding this matter.

79. Jurisdictional discovery is necessary to prove the viability of Plaintiff’s

   claims under 42 USC 1983, for injunction sought, and for declaratory

   judgment relief.

80. Plaintiff seeks preliminary injunctive relief in this case, and a protective

   order in order to receive and review one administrative regulation that

   Defendant ODOC refuses to make available to the public (OP-040101) and to

   determine if other individuals are identified in such policy as personally

   responsible for enforcement and compliance of any other administrative

   protocols that would have prevented the violation of L.G. to occur at the

   Eddie Warrior facility.

81. These Defendants have failed to act on their responsibilities, and proximately

   deprived Plaintiff of rights protected under the U.S. Constitution, including

   but not limited to: violation of Plaintiff’s person, under 42 USC Section

   1983.

82. Defendants have caused and/or directed and/or negligently allowed


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   administrative employees under their control to violate Plaintiff’s state rights

   and fail to adhere to administrative protocols, causing violation of Plaintiffs’

   constitutionally protected rights. Defendants’ actions individually and in

   concert did deprive Plaintiff of her rights, causing substantial damages, and

   giving rise to a cause of action in equity – permanent injunction.

83. Plaintiff seeks a permanent negative injunction against ODOC, the Defendant

   Board of Corrections, and the Defendants identified as personally responsible

   for abovementioned policies: requiring Defendants to adhere to, enforce,

   draft, improve, and comply with administrative policies and procedures,

   existing currently to protect female inmates, and to craft policies that should

   exist, that would have prevented L.G. from being violated at the Eddie

   Warrior facility, in Muskogee, Oklahoma.

84. The conduct of these defendants deprived the Plaintiff, L.G., of the protection

   of her rights, privileges and immunities secred to her by the Consittution of

   the United States.   These defendants and each of them caused the injuries

   and damages to the Plaintiff by:

     a. Deliberate indifference to the needs and protections of assault for

        physical wellbeing of the Plaintiff while incarcerated in the Eddie

        Warrior Prison facility.


   b.       Deliberate indifference to the need for appropriate protection against

     the sexual assault present in the jail, and therefore likely future



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        constitutional violations of other female inmates other than Plaintiff

        (Exhibits 8, 9);

   c.          Failing to provide sufficient trained personnel to recognize the

        seriousness of the assault and recognize what needs to be done to abor and

        stop injuries to prisoners from sexual assault.

   d.          Failing to adopt, incorporate and enforce such rules, regulations,

        policies and procedures through operations and management of the Eddie

        Warrior Correctional     Facility as would have reasonably protected and

        provided L.G. with the necessary safety and protecdtion of her life and

        body from sexual assault and injury.

   e.          That the acts and failures to provide necessary care, safety and

        protection by the Defendant, and each of them, was in violation of the

        Federal Constitution, Federal and State laws.

85. As a direct and proximate result of the actions and inactions of these

   defendants, and each of them, acting under color of state law L.G. was

   sexually assaulted and was deprived of her civil rights under the Constitution

   of the United States, more specifically the 4th, 8th and 14th Amendments and

   other laws of the United States, common law and statutory law including the

   Civil Rights Act and 42 U.S.C. §1983 and §1988 and Article 2 Section 30 of

   the Oklahoma State Constitution.

                           JURY TRIAL REQUESTED

        All of the above stated claims and causes of action arise from and form part


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of the same case and controversy and Plaintiff is entitled to and hereby requests a

jury trial as to each and every cause of action or claim asserted herein.

                             PRAYER FOR RELIEF

       Plaintiff prays for judgment as follows:

A. Actual damages in excess of seventy-five thousand dollars ($75,000.00);

B. Compensatory damages, including, but not limited to emotional distress, mental

anguish; future medical and psychological damages; pain and suffering; Punitive

or exemplary damages.

C. Declaratory relief regarding the monetary liability of Defendants who have

insurance policies or bonds with limits above and beyond the OGTCA limit;

D. Immediate and prospective injunctive relief as appropriate (to avoid spoliation

of evidence and requiring Defendants to act according to administrative law);

F. Attorney fees, costs and such relief as the Court deems reasonable and proper.

                                    Respectfully submitted,


                                    /s/E W KELLER
                                    E.W. Keller, OBA 4918
                                    Henry Dalton, OBA# 15749
                                    KELLER, KELLER & DALTON, PC
                                    201 Robert S. Kerr, Suite 1001
                                    Oklahoma City, OK 73102
                                    Tel. 405.235.6693
                                    Fax. 405.232.3301
                                    Email: kkd.law@coxinet.net

                                    ATTORNEYS FOR PLAINTIFF L.G.
ATTORNEY LIEN CLAIMED




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                             CERTIFICATE OF SERVICE

        This is to certify that on this 24th day of November, 2020, a true and correct copy
of the above and foregoing Amended Complaint was electronically transmitted to the
Clerk of the Court using the ECF System for filing and transmittal and notice of
electronic filing to the following ECF registrants:

Kari Y. Hawkins
Assistant Attorney General
313 NE 21st Street
Oklahoma City, OK 73105

Anthonyt L. Allen
106 S. Okmulgee Avenue
Okmulgee, OK 74447

                                      /s/ E W Keller




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